         Case 1:21-cr-00118-RCL Document 133 Filed 08/04/22 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
                                                 :
             v.                                  :    Case No. 21-cr-118 (RCL)
                                                 :
ERIC GAVELEK MUNCHEL                             :
and LISA MARIE EISENHART,
                                                 :
        Defendants.                              :

                                   JOINT STATUS REPORT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and counsel for defendant Eric Gavelek Munchel, and counsel for

defendant Lisa Marie Eisenhart, hereby submit the following Joint Status Report:

       1. On June 2, 2021, the government obtained a superseding indictment (ECF No. 76).

       2. A status conference is scheduled for August 8, 2022.

       3. The United States was asked to confer before the upcoming status conference with

           defense counsel about a possible trial date, absent a resolution of the superseding

           indictment.

       4. On July 30, 2022, Assistant Federal Public Defender Elizabeth Mullin filed a notice of

           appearance as co-counsel (ECF No. 132).

       5. Counsel for the prosecution and defense have conferred over electronic mail on various

           dates between July 22, 2022 and August 3, 2022. As a result of those communications,

           the parties were able to agree on a proposed trial date in April, 2023, and respectfully

           suggest that trial commence after April 5, 2023. The United States now estimates that

           its case-in-chief will last for approximately five days.
       Case 1:21-cr-00118-RCL Document 133 Filed 08/04/22 Page 2 of 2




      6. The parties believe it is in the interest of justice to toll the Speedy Trial Act until the

         date of trial. The proposed trial date will allow counsel, including co-counsel for

         defendant Munchel who recently appeared in this case, to effectively prepare for trial.

         The parties thus request a tolling of the Speedy Trial Act, pursuant to 18 U.S.C. §

         3161(h)(7)(A), based on the factors described in 18 U.S.C. § 3161(h)(7)(B)(i), (ii),

         and (iv). Therefore, the parties request an exclusion of time under the Speedy Trial

         Act from August 8, 2022, through the date the Court schedules for trial.




      Respectfully submitted,

      MATTHEW M. GRAVES
      United States Attorney

By:
            /s/                                             /s/
       Karen Rochlin                                   Sandra Roland
       DC Bar No. 394447                               Elizabeth Mullin
       Assistant U.S. Attorney Detailee                Federal Public Defenders
       99 N.E. 4th Street                              625 Indiana Avenue, N.W.,
       Miami, Florida                                  Suite 550
       (786) 972-9045                                  Washington, DC 20004
       karen.rochlin@usdoj.gov                         (202) 208-7500
                                                       sandra_roland@fd.org
                                                       elizabeth_mullin@fd.org
                                                       Counsel for defendant Munchel

                                                            /s/
                                                       Gregory S. Smith
                                                       D.C. Bar No. 472802
                                                       Law Offices of Gregory S. Smith
                                                       913 East Capitol Street, S.E.
                                                       Washington, DC 20003
                                                       (202) 460-3381
                                                       gregsmithlaw@verizon.net
                                                       Counsel for defendant Eisenhart

                                                2
